[EDITORS' NOTE:  THIS PAGE CONTAINS HEADNOTES. HEADNOTES ARE NOT AN OFFICIAL PRODUCT OF THE COURT, THEREFORE THEY ARE NOT DISPLAYED.] *Page 156 
The facts sufficiently appear in the opinion.
This action was commenced by the plaintiff in the district court of the state of Nevada, in and for Lander county, to recover of the defendant damages for the destruction of a certain lot of hay, a hay press and for injury to pasture land of the plaintiff alleged to be caused by fire from the defendant's railroad engine. The case was tried by the court without a jury, and judgment given in favor of the plaintiff for $10,060 damages, the value of the property destroyed, as found by the court, with legal interest and $1289 70 costs. The defendant appeals from the judgment and order of the court denying the motion for a new trial. One of the grounds on which said motion was based is: "Insufficiency *Page 163 
of the evidence to justify the decision of the court." The findings of fact on the issues made by the pleadings are very full and voluminous, and to each material finding the defendant excepted on the ground "that the same is wholly unsupported by the evidence and contrary thereto."
Appellant's counsel argues that the findings are not supported by competent evidence, and this court is asked to exclude all incompetent evidence from its consideration in reviewing the testimony to determine its sufficiency or insufficiency to support said findings. But evidence may tend to prove the issues in a case and yet be incompetent. If such evidence be admitted at the trial of a cause, full weight must be given it in considering the question whether or not the evidence is sufficient to sustain the findings. (Vietti v. Nesbitt, 22 Nev. 390;Sherwood v. Sissa, 5 Nev. 349; McCord v.O'Neall, 16 Cal. 397; Pierce v. Jackson,21 Cal. 636; Hayne, New Trial and Appeal, sec. 98.)
In the present case all evidence offered was admitted without objection, by stipulation of the parties, except hearsay evidence. The argument of counsel is more pertinent to the question as to the weight of the evidence than to the matter of its competency.
There is no contention as to the sufficiency of the findings of fact to support the judgment, and we do not deem it necessary to consider but a few of the many findings and review but portions of the evidence upon which they seem to be based. It is admitted by the defendant that its railroad track and right of way pass through the meadow land of the plaintiff where it is alleged the fire occurred and his property was destroyed. The court found "that on the 11th day of October, 1893, the defendant, while running its train of cars on said track and right of way over and across said lands, carelessly and negligently used and operated a locomotive engine defectively constructed and carelessly and negligently omitted to use proper appliances to prevent the emission of sparks, burning coals and fire from said engine, and carelessly and negligently omitted to keep the said right of way free and clear of dry and combustible materials, but carelessly and negligently permitted the accumulation of large quantities of dry grass and weeds on said right of way *Page 164 
adjoining the said land of plaintiff, and negligently and carelessly permitted its said engine to emit and drop sparks, burning coals and fire into said dry grass and weeds on said right of way adjoining plaintiff's said land, and thereby the defendant negligently and carelessly ignited and set on fire said grass and weeds, and negligently and carelessly permitted the said fire to spread in a continuous fire to said pasture lands, hay and hay press, and carelessly and negligently permitted said pasture, hay and hay press to be wholly destroyed by said fire without any fault of the plaintiff."
Proper Appliances: Is the finding that the defendant negligently omitted to use proper appliances to prevent the emission of sparks, burning coals and fire from the engine supported by the evidence? It is admitted by the evidence on the part of the defendant that there was no wire or iron netting or screen in the ash-pan of engine No. 1, the engine that hauled the train on the day the fire occurred. There is evidence on the part of the plaintiff that if there be no such netting in the back door of the ash-pan, that, when the back damper is open and the engine is moving forward, hot cinders and coals of fire are liable to and do drop out through the back door when the damper is up, and are liable to ignite the oil which leaks more or less from the train and set fire to combustible material on and by the side of the track; that there is naturaly a certain amount of burning coals that drop into the ash-pan, and, in the absence of such netting, the natural shaking of the engine in motion, when the damper is raised, will roll these coals out on the ground, and, if there be combustible matter on the ground, they will set it on fire; that when these coals drop out they may strike the end of the ties and roll three or four feet from the track; that it is necessary to have the back damper of the ash-pan open to get draft; that both dampers are nearly always open except when crossing a bridge; that by some means said engine No. 1 set six fires in passing along on a ranch adjoining the plaintiff's ranch about a month before the fire in question. Walter Davis testified that he was engineer on this road about two and a half years; that he quit about the middle of February, 1893; that he generally ran with both *Page 165 
dampers open except when going over a bridge; that he fired about two years and a half for seven different men on this road before he became engineer; that these men always ran with both dampers open, and made him run that way. The testimony of Davis is pertinent as tending to show the habit on this road of running the engines with both dampers open. (Grand Trunk R. R. v. Richardson, 1 Otto, U. S. 454.) There is a great deal of other evidence tending to show the necessity of such netting in the ash-pan to prevent fire escaping therefrom. On the contrary there is evidence on the part of the defendant tending to prove that coals of fire or hot cinders will not escape through the door of the ash-pan when the damper is up, even in the absence of said netting; that there is no necessity of having such netting; that the engineer who ran engine No. 1 on the day of the fire always kept the back damper of the ash-pan closed, and that said engine was in good and safe condition, and had all the necessary appliances to prevent the escape of fire.
We cannot say that the evidence is not sufficient to support the finding as to the want of proper appliances. At least there is a substantial conflict of evidence with reference thereto, and in such case the appellate court will not interfere. (Vietti v. Nesbitt, supra;State v. Yellow Jacket, 5 Nev. 115;Clark v. Nevada L.  M. Co., 6 Nev. 203.)
"The rule that the supreme court will not consider the weight of conflicting evidence has been so often reiterated as to become somewhat monotonous." (McCoy v. Batemanand Buell, 8 Nev. 126.)
That it is the duty of a railroad company to supply its road with such engines as will be least liable to set fire and be reasonably safe from destroying property of others along its line, is well settled. "A railroad company is obliged to employ the best known appliances to prevent injury to others from fire, and the failure to do so is want of ordinary care and prudence." (Longabaugh v. V.  T.R. R. Co., 9 Nev. 271; Rogers v. Brighthope Ry.Co., 8 Am.  Eng. R. R. Cases, 710; Thompson on Negligence, 154-5.)
Rubbish on Right of Way: As to the finding "that the defendant negligently omitted to keep the said right of way free and clear of dry and combustible material along and *Page 166 
adjoining said land of plaintiff, and carelessly permitted the accumulation of large quantities of dry grass and weeds on said right of way adjoining said land," we are of opinion it is abundantly sustained by the evidence, which is without material conflict. The evidence is to the effect that the rye grass grows right along the side of the track" from eight inches to three feet in height; that there was more or less dry stubble grass which had grown up in the center and on the edges of the track on the right of way through plaintiff's said land; that there was dry grass there all along the right of way; that it was not a foot from the end of the ties; that the tall grass extended along the track the length of the field; that at the place of the fire there was quite a bunch of rye grass more than at any other place along the line; that it was four or five feet high; that when the fire occurred this grass was very dry, as dry as it could be, and would easily take fire; that in the fall of the fire it had not been cut off any further than the end of the ties; that there was dry grass all along the right of way there, fifty feet on each side of the railroad, that was not cut, and that the dry grass they had cut between the rails was left there and would easily ignite.
We are of opinion that we are justified in saying that it is common knowledge, based on common observation in this railway age, that railroad engines of the most approved construction and with the best known appliances, and managed by the most skillful engineers and firemen, are liable to and do frequently, from necessity or by accident, emit sparks and fire capable of igniting dry rubbish or combustible matter along their pathway, and thus place the property of adjoining owners in imminent danger of destructive conflagrations and frequently cause the destruction of such property.
"A railroad company may be supplied with the best engines and most approved apparatus for preventing the emission of sparks, and operated by the most skillful engineers; it may do all that skill and science can suggest in the management of its locomotives; and still it may be guilty of gross negligence in allowing the accumulation of dangerous combustible along the track, easily to be ignited by its furnaces and thence communicated to the property of adjoining *Page 167 
owners." (Medley v. Richmond and Danville R. R.Co., 7 Am.  Eng. R. R. Cases, 493; 75 Va. Rep. 498.)
"The general rule is that a railroad company must keep its track and right of way reasonably clear of all such substances as are liable to be ignited by sparks or cinders from its engines." (Eddy et al. v. Lafayette et al.,
49 Fed. Rep. 807; 8 Am.  Eng. Ency. 14;Kellogg v. Chicago R. R. Co., 26 Wis. 223;Jones v. Mich. Cent. R. R., 59 Mich. 437;Black v. Railroad, 115 N. C. 667.) "A railroad company must be diligent in keeping its track clear of such combustible matter as is liable to be easily ignited." (Longabaugh Case, supra.)
 What Caused the Fire? We are of opinion that the evidence reasonably supports the finding that it was caused by fire from the defendant's engine. The testimony of the plaintiff is to the effect that, in passing up and down the railroad, he frequently saw trains pass and within an hour or so thereafter had seen the sagebrush and dry grass on fire, and he had seen fires started immediately after the train had passed; that he saw it thus in September, about a month before the fire in question; that he frequently saw ties burnt in the center along the track; that he saw coals scattered along the railroad, etc. Watt, Jr., testified to the same effect and that he was at the fire on the Watt ranch in about two hours after the train had passed; that he went to where the fire started and investigated it; that in his opinion the fire started right along the railroad track; that he could see coals on the edges of the rails in many places; that the wind was blowing from the railroad towards the stacks of hay; that the fire widened from the track across the meadow to the stacks; that in his opinion the engine set the fire, and nothing else.
Fred Steiner, whose ranch adjoins the plaintiff's ranch, testified, in effect, that he had seen many fires kindled by passing engines ever since the road was built; that he and his family always kept watch for fires when the trains passed his place, and had put out many fires set by the engines; that in the latter part of September, a short time before the Watt fire, the engine (No. 1) set six fires on his ranch in passing along a distance of a mile or a mile and a half.
O'Donald testified that in December, after the fire at *Page 168 
Watt's ranch, he put out two fires that had been set by the engine on this ranch, near the track and near the place where the fire occurred in on the 11th day of October, before.
Walter Davis testified, in substance, that he was engineer on this road for about two years and a half, and up to February, 1893; that he ran engines No. 1 and No. 5 from the start, then No. 1 and No. 2; that he frequently set fires by these engines along the road; that he had set as many as twelve to fifteen in a trip; that about two years ago he set fire to Watts' meadow, where the late fire occurred.
We are of opinion that the evidence affords reasonable presumption and inference that the defendant's engine was the agent that set the fire that destroyed the plaintiff's property, especially in the absence of evidence tending to point to any other agency or probable agency. InGibbons v. Wisconsin Valley Ry. Co., 25 Am.  Eng. R. R. Cases, 479, the circumstances and evidence tending to show the origin of a fire are very much like these of the present case, and the court held that they were sufficient to justify the finding of the jury that the fire was set by the locomotive.
The Number of Tons of Hay: The court found that the number of tons of hay destroyed was 976. There were several modes adopted on the part of plaintiff at the trial in arriving at the estimated amount of hay.
First: The plaintiff testified, substantially, that he should think he stacked in 1890, 250 tons; that in 1891 he thought he stacked in the neighborhood of the same amount; that in 1892 he thought it was over 300 tons, or in that neighborhood; in 1893 he thought perhaps he stacked in the neighborhood of 200 tons; that he did not take any measurements only from observation; that he did not handle the business himself; that he might have been there, off and on, while the hay was being put up, but never stayed any length of time.
Second: That he should judge that there were some 150 to 175 acres of hay land, somewhere along there; that he never measured it; that in a good year he thought "you could get two tons or over" of hay to the acre; that in 1891 and 1893 the crops were not so good as in 1890 and 1892; that two tons would be a fair average yield. Watt, Jr., who *Page 169 
harvested the hay each of the four years, estimated the number of acres of hay land at 150 to 165, and the yield per acre at 1 ¾ to 2 tons.
Third: Estimates were made by Watt, Jr., from his recollection of the number of loads of hay hauled and stacked each year of the four years and from the estimated weight of each load as guessed at by him and the boys who helped in the harvesting.
Fourth: Watt, Jr., testified to the measurements he made of the length and width of the burned ground where the several stacks had been standing, and to his estimate of the height of each stack; that he estimated that the stacks "would each square 16 feet high," and from these measurements and estimated heights he calculated 976 tons. Dennis Scully, a surveyor, measured the height of the two stacks of Fred Steiner on an adjoining ranch, and found one to be 101/2 feet and the other 11 feet. Fred Steiner testified that he had taken notice of Watt's stacks a short time before they were burned; that a part of them probably was as high as his, but that he did not think they would average as high as his. Watt, Jr., testified that he was quite familiar with Steiner's stacks; that he thought some of Watt's were a little higher than Steiner's; but that they were "about the same, just about the same." And yet his calculation is based partly on 16 feet as the height of the Watt stacks, although the accuracy of Scully's measurements of the Steiner stacks was not questioned at the trial or in this court. If the Scully measurements of these stacks and the observations of Steiner and Watt, Jr., as to the relative height of the two sets of stacks can be relied on as being approximately correct, then the calculation of 976 tons, based on the measurement of the burnt ground where the stacks stood, and the estimated height of the stacks, 16 feet, gives a result too much by 5/16 of 976, or by 305 tons. There is nothing in the record by which it may be inferred that either the plaintiff or Watt, Jr., had any particular object in wishing to know the number of tons they put up each year, until after the hay was destroyed, or that they had, or retained in mind, very reliable data on which to base their several calculations, and it could not be expected that their conclusions under such circumstances *Page 170 
would be very accurate. Certain of their estimates, when tested by actual survey and measurements, are found to be very wild. Taking all the testimony given, and estimates made, on the part of the plaintiff, they would, doubtless, be sufficient to support the finding of 976 tons of hay as against other evidence of similar character and of no greater degree of certainty. But Dennis Scully made a survey of the meadow land for the defendant, and, when he was put on the witness stand, counsel for the plaintiff stated to the opposing counsel and to the court as follows: "Without going into an extensive examination, I will admit right here that Mr. Scully is a first-rate surveyor and a faithful man." Mr. Scully produced a plat of his survey of "the hay land on Watt's Reese river ranch," and briefly testified in explanation thereof and to its correctness. No suggestion was made that the survey as to the contents of the hay land was not correct, until it came to the argument of the case by briefs. Then counsel for plaintiff in the court below, and in argument in this court, claimed that Mr. Scully did not know the boundaries of the meadow except as they were pointed out to him by Mr. Cox and Mr. Murdock, and that there is no evidence that these lines were correctly pointed out to him. But in this contention we cannot agree with plaintiff's counsel. It is clear from the testimony of Mr. Scully that what were pointed out to him were the several designated places marked on the plat, to wit: "Fire first discovered," and "Boundary line of fire," and "End of hay stacks," which are no part of the survey of the contents of the meadow land. Besides, we are of opinion that a competent surveyor and reliable man could have no great difficulty in finding and tracing the boundaries of a tract of hay land that produces two tons of red-top hay to the acre. Mr. Scully found by his survey that the meadow or hay land contained 91.2 acres. The evidence of Mr. Watt and Watt, Jr., shows, and the court found, that of the hay land four acres were never cut. This leaves 87.2 acres from which the plaintiff's hay was harvested. Taking the 87.2 acres as a basis in connection with two tons of hay to the acre as the annual product, which the plaintiff testified would be a fair average yield, and which was corroborated by Watt, Jr., and *Page 171 
a nearer approach may be had and a more reliable result be obtained as to the actual number of tons destroyed than by any of the uncertain methods adopted by the plaintiff at the trial.
Notwithstanding the well-established rule which has been so often announced by this and other courts that, "where there is a substantial conflict in the evidence the appellate court will not disturb the decision of the court below," there is another rule as well established and of as binding force, both in actions at law and in equity, addressed to the conscience and judgment of the court of last resort, which cannot be ignored without doing violence to the plain principles of common justice in many cases, to wit: "If there be no substantial conflict in the evidence upon any material point and the verdict or decision be against such evidence upon such point, or where the verdict or decision strikes the mind, at first blush, as manifestly and palpably contrary to the evidence, the supreme court will direct a new trial." (Hayne, New Trial and Appeal, sec. 288, and citations;Barnes v. Sabron, 10 Nev. 217.)
The duty of the supreme court to look into the evidence and grant a new trial "in cases where it appears that the evidence taken all together does not support the verdict or decision or judgment of the court," is made clear by Stats. 1893, p. 88, as authoritatively construed inBeck v. Thompson, 22 Nev. 121. In that case the court, while recognizing the rule applicable in case of conflict of evidence as given above, said: "As already remarked, this statute (1893) has worked an important and quite radical change, and in a proper case, without regard to whether there are or are not findings, seems to impose upon this court the duty of reviewing the evidence, and determining whether the final result is supported by it. This statute was undoubtedly designed to cut through many technicalities that have so often prevented cases from being considered upon their merits, and should be construed in the same broad spirit in which it was enacted, but at the same time with such conservatism as will not result in the reversal of a case where substantial justice has been done. * * * Where there is a substantial conflict in the testimony, the appellate court should undoubtedly *Page 172 
not substitute its judgment for that of the trial court, and should only interfere where, upon all the evidence, it is clear that a wrong conclusion has been reached."
We are of opinion that the uncertain estimates and calculations made on the part of the plaintiff to ascertain the quantity of hay destroyed, on which the finding of the court was based, cannot be considered as reaching the rank of conflicting evidence with the actual number of acres of hay land, as ascertained by a reliable survey of the ground, and the fair average yield of two tons per acre, as admitted by the plaintiff. A sense of justice impels us to hold that the evidence given at the trial is insufficient to support the finding of 976 tons, or of any greater number than 697.6 tons, and we are satisfied that the latter number is a very liberal allowance in favor of the plaintiff.
The Value of the Hay: The court found that the value of the hay destroyed was $10 per ton, and assessed the damages for its destruction at that sum. That the value of the hay at the time and place when and where it was destroyed is the criterion of damages in this case is not disputed by the parties, but there is a radical difference between them as to what that value was, and as to the rules to be adopted in arriving at the value. It is claimed by plaintiff's counsel that "the value of a thing is that which it takes to replace the thing at the time and place when and where it was to be delivered, or where and when it was taken or destroyed; that the value of the hay in question was the sum of money that it would have required to replace the same quantity and quality of hay in stack on the plaintiff's ranch"; and, therefore, that "the plaintiff is entitled to recover the value in the nearest market and the cost of transportation to his ranch with other necessary expenses to replace the hay." He cites several authorities to sustain his contention. The counsel for defendant denies the correctness of these propositions as applied to this case and also cites several authorities.
Doubtless, the rules adopted in the respective cases cited by plaintiff's counsel were applicable to the facts and circumstances of those cases, but we fail to see their applicability to the state of facts of the present case. *Page 173 
Evidence of the cost of an article may be an element of proof to be considered in arriving at its value. In the case at bar, if the cost of producing the hay had been shown, it would have been proper for the court to have considered it as evidence tending to show value; and if there were no other facts incident to the condition of things involved calculated to affect the question of value, or which would outweigh such cost in arriving at a valuation, the court might have properly fixed the value at such cost. The cost of an article may be inconsiderable, and yet its value great; and its value may be trivial, and its cost great. Because the cost of substituting property is a certain sum, it does not necessarily follow that the value of the new property is the same sum, nor that the value of the original property is the cost of substituting other like property in its place.
How the cost of substitution of other property can add to or detract from the value of the property for which the substitution is made, we are unable to perceive.
It is well settled that the cost of replacing other property for property destroyed is not the criterion of damages, but it is the actual value of the property at the time and place it was destroyed. (Burke v. Louisville, etc., 7 Heisk. 451; 17 L. A. R. 60; Wylie v. Smitherman, 7 Ired. 236; 1 Suth., 2d ed., 12, 105; Sedg., 40, 428.)
But "where the value of the property destroyed is the criterion of the amount of damages to be awarded, and the property had no market value at the place of its destruction, then all such pertinent facts and circumstances as tend to establish its real and ordinary value at the time of destruction are admissible in evidence; such facts as will furnish the jury or court with such pertinent data as will enable them reasonably and intelligently to arrive at a fair valuation, and are all elements of proof to be considered by them." (Jacksonville, Tampa and Key West Railway Company v.Peninsular Land, Transportation and Manufacturing Company,27 Fla. 1; 17 L.R.A. 33.)
"If the article in question has no market value, its value may be shown by proof of such elements or facts affecting the question as exist. Recourse may be had to the items of cost, utility and use." (Suth., 654, 378.) If the property *Page 174 
of which the owner is deprived is a marketable commodity, its market price is the value he is entitled to recover. (Sedg., 433; Sullivan v. Linn, 23 Fla. 473; Suth., 1098.) The market value will govern rather than any special value to the owner. (Suth., 1113; Brown v. Allen, 35 Iowa, 306.)
In this case the value of the hay destroyed is the criterion of damages, and there was no market at the ranch where it was destroyed. The hay was produced on the plaintiff's land. The plaintiff testified to the effect that he stored the hay in stack each of the four preceding years in order to have it in case of a recurrence of a severe winter, such as was experienced in 1889-90, in which he lost $100,000 worth of stock, of which he could have saved $50,000 worth if he had had on hand the hay in question; that he intended to continue to store hay for that purpose for an indefinite number of years; that if a hard winter did not come in ten years he would have ten years' accumulation of hay on hand; that if the hay had not been destroyed he would have continued to keep it till a hard winter did come; that he had no other use for it whatever; that if a hard winter did not come he might be compelled to use it, or some of it, at some time in the" indefinite future, on account of the increase of his stock; that this was a possibility, as his stock was increasing rapidly; that he had not used any of the hay, and had no need to use it since he commenced storing it in 1890, which was four years before.
According to the plaintiff's own showing it is manifest that the hay had no value for present use as feed for his stock. What facts or circumstances are there disclosed that would furnish such pertinent data to a court or jury as would enable them reasonably and intelligently to arrive at a fair valuation for future use as feed for his stock? If there be any element of proof of value for such future use, it is so hedged about with simple conjecture, uncertainty and speculation, and so environed with matters problematic, as to be incapable of making an intelligent impression upon the common judgment as to what that value would be.
"There must be proof of value or evidence of such facts as will warrant a deduction of the value with reasonable certainty. Neither courts nor juries are permitted to assess *Page 175 
values on conjecture. Value must be ascertained by a money standard and based on evidence, not on conjecture." (Traloff
v. New York Central, 10 Blachf. 16; Sedg., 172.) Compensation cannot be based on mere conjectural probability of future loss. (Chicago Ry. Co. v. Henry, 142 Sedg. 244.) Prospective damages are allowed only on proof that they are reasonably certain to occur. (Clarice v. The Nevada L.  M.Co., 6 Nev. 203.)
Where a plaintiff claims compensation for consequences of an injury which he has not yet experienced, he must prove with reasonable certainty that such consequences are to happen. (DeCosta v. Mass. M. Co., 17 Cal. 613; Fry v. DubuqueRy. Co., 45 Iowa, 416; Lincoln v. Saratoga R. R. Co.,
23 Wend. 425; 6 Nev. supra.)
It is evident that the plaintiff in this case has sustained no damages, as yet, by reason of the destruction of his hay, beyond the value of the hay in the market. To allow him other damages would be giving him compensation for conjectural consequences, which is not allowable. (Sedg., 888, 937.) It would be compensation for conjectural consequences based on conjectural value. As the hay had no value for present use, and no ascertainable value for future use, as feed for plaintiff's stock, its value was no more and no less than if it had been the property of A., raised and stored at the same place, A. having no stock.
That the market at Austin must be looked to for a solution of the question of the value of the hay, we understand, the counsel are agreed. At Austin, 37 miles distant by rail, there was a market for baled hay. The plaintiff's counsel, however, claims that the cost of transportation of the hay from Austin to the plaintiff's ranch, and other expenses such as unbaling and stacking it, should be added to the Austin market price in assessing the damages, while the defendant's counsel maintains that the cost of baling to put it into marketable shape, and the cost of transportation from the ranch to Austin, must be deducted from the market value at Austin. The contention of plaintiff's counsel is based on the theory that the plaintiff did not want to sell the hay, but wanted to keep it for his own use, but it appears that he did not want to purchase hay either to keep for his own use in *Page 176 
the place of the hay destroyed, for he made no effort to do so, evidently for the reason that the cost would have greatly exceeded the value of the hay. If the plaintiff can recover the cost of buying and replacing other hay on his ranch, it is evident that he would recover a sum greatly in excess of his loss, and that the fire would be the source of great profit, instead of being the cause of loss. It seems clear that the plaintiff has sustained no loss beyond the value of the hay in the market as a commodity for sale. And that value was the market price, less the cost of putting into market. A sense of common justice constrains us to hold that the evidence insufficient to sustain the finding that the value of the hay destroyed was $10 per ton.
The plaintiff based his testimony of the value of the hay on the alleged facts, substantially, that he had stored it for future use in the event of a hard winter; that it would cost at least $20 per ton to replace it with other hay; that it was worth $20 per ton to him; that he would not have taken less for it; that it was not for sale, and that it was worth more than river hay such as was sold in the Austin market. But "it is quite immaterial what use he would have made of the hay in the future. The measure of damages is the market value." (Berry v. Dwinel, 44 Me. 255; Washington Ice Co. v.Webster, 68 Me. 451; Stevens v. Springer,23 Mo. App. 375; Smith v. Griffin, 3 Hill, 333.) "What the owner would take for his property cannot be shown as proof of its value." (Sedg., 1294; Kiernan v. Chicago Ry. Co.,123 Ill. 188.)
"The price at which property would sell under special and extraordinary circumstances is not to be considered, but its fair cash market value if sold in the market under ordinary circumstances, and assuming that the owner is willing to sell and the purchaser is willing to buy." (Brown v. Calumet R. R.Co., 125 Ill. 606.) "In an action against a railroad company to recover damages for hay destroyed by fire set by defendant's locomotive, the measure of damages is the market value of the hay where burned. In case there is no local market, the value is properly fixed by the value at the nearest market, deducting the cost of transportation." (Lafayette v. Eddy et al., Trustees Mo. Kan.  Tex. Ry. Co.,
49 Fed. Rep. 807.) *Page 177 
As there is testimony tending to show that the hay destroyed was of better quality than the river hay sold in the Austin market, this evidence should be considered, in connection with the Austin market for river hay, in arriving at the value of the plaintiff's hay. This hay was a marketable commodity, and therefore its market value at the time it was destroyed is the measure of damages. If there was no market for it where it stood, there was one at Austin, which was within reach, and to which hay had sometimes been shipped from this section. In the absence of a showing that it had any greater market value where it was situated, its value in the Austin market, less the cost of transportation, must control.
The Hay Press: The value of the hay press was fixed by the finding at $200, the sum alleged in the complaint. We do not think this finding is supported by the evidence. We find no evidence in the record tending to show any greater value of the press than its cost at plaintiff's ranch.
The judgment and order appealed from are reversed and new trial granted.
                       ON PETITION FOR REHEARING.